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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                     CASE NUMBER 21-20106-CR-SCOLA/GOODMAN


 UNITED STATES OF AMERICA,

                       Plaintiff,
 vs.

 FIDALGIS FONT,

                       Defendant.
                                       /

                 NOTICE OF TEMPORARY APPEARANCE AS COUNSEL

        THIS COURT will enter the temporary appearance of the LAW OFFICES OF

 BARRY M. WAX, as counsel for the Defendant, FIDALGIS FONT, in the above-styled cause

 of action. The Clerk of the Court is hereby requested to transmit all notices and pleadings to the

 undersigned at the email address provided below.

                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 9th day of March, 2021, I electronically filed the
 foregoing with the Clerk of the Court by using the CM/ECF system which will send a notice of
 electronic filing to the following: Lauren Elfner, Trial Attorney (Lauren.Elfner@usdoj.gov) and
 Joshua Rothman, Trial Attorney (Joshua.D.Rothman@usdoj.gov), U.S. Department of Justice,
 450 Fifth Street, NW, Room 6400-South’Washington, DC 20001 and all defense counsel of
 record.

                                                     Respectfully submitted,

                                                     /s/ Barry M. Wax
                                                     Barry M. Wax
                                                     Florida Bar No. 509485
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